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                EXHIBIT 2
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From:          Peter Curtin
To:            Kyle D. Stroup; Nathan F. Studeny; Jon W. Groza; Jon J. Pinney
Cc:            Yichen Cao; Campbell, Jay R.; Ostrowski, Carter S.; Elliot Mendelson
Subject:       RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Deposition Notices for Discussion
Date:          Wednesday, December 20, 2023 8:43:00 PM
Attachments:   NOCO v. Aukey - Rule 30(B)(1) Individual Deposition Notices - Weiner.pdf
               NOCO v. Aukey - Rule 30(B)(1) Individual Deposition Notices - Nook.pdf
               NOCO v. Aukey - Rule 30(B)(1) Individual Deposition Notices - Weideman.pdf


Hello Kyle and All –

As previewed in one of my earlier messages, and in advance of our
conference regarding transition of counsel, scheduling issues and deadlines
tomorrow, we have attached three deposition notices for NOCO employees
in their individual capacities. The proposed deposition dates have been left
open for discussion by the parties.

If we had to list the proposed deposition dates now, the dates would be
January 2nd (for Weideman) and January 3rd (for Nook), but it makes more
sense for both sides to: (a) schedule the individual depositions for later in an
agreed-upon further-extended fact discovery period; and (b) coordinate the
individual depositions with NOCO’s Rule 30(b)(6) deposition because these
three witnesses are all likely corporate representatives.

Moreover, Aukey cannot be expected to depose Mr. Weiner (or to conduct a
Rule 30(b)(6) deposition of NOCO on damages issues) within the current
discovery deadlines. We have completed our initial review of NOCO’s
November 22, 2023, document production and it appears to us that NOCO
has not produced a single document or piece of information related to the
unit sales, sales revenue, COGS, or profits of NOCO’s jump starters during the
period of time relevant to this case (or any other period of time). If we are
wrong about this, please identify the relevant documents by Bates-number.

We are also preparing a Rule 30(b)(6) Notice of Deposition to NOCO that we
will serve before the end of this week.


Best Regards –

Pete Curtin
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